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 4
                                   UNITED STATES DISTRICT COURT
 5
                                         DISTRICT OF NEVADA
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 7
     UNITED STATES OF AMERICA,         )
 8                                     )
               Plaintiff-Appellee,     )                  2:09-cr-466-PMP
 9                                     )
   vs.                                 )                  USCA No. 11-10523
10                                     )
   HECTOR GONZALEZ-ALBA,               )
11                                     )
               Defendant-Appellant.    )                           ORDER
12 ____________________________________)
13
            Pursuant to the order of the United States Court of Appeals for the Ninth Circuit in the above
14
     referenced case, the motion to relieve Angela H. Dows, Esq. as counsel was granted and new counsel
15
     was ordered appointed (#167).
16
            IT IS HEREBY ORDERED that the Nevada Federal Public Defender (411 E. Bonneville
17
     Avenue, Suite 250, Las Vegas, NV 89101, phone number 702-388-6577) is hereby appointed as
18
     counsel under the Criminal Justice Act to represent defendant-appellant Hector Gonzalez-Alba.
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            IT IS FURTHER ORDERED, pursuant to the order of the United States Court of Appeals for
20
     the Ninth Circuirt, the Clerk of Court is directed to notify the Clerk of the Ninth Circuit Court of
21
     Appeals of this appointment at counselappointment@ca9.uscourts.gov.
22
23
                    DATED this 8th        day of November, 2011.
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                                                          ___________________________________
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                                                              __ _______________________
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26                                                        PHILIP
                                                           HILIP M. PRO
                                                                    PRO
                                                          UNITED STATES DISTRICT JUDGE
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